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             EXHIBIT 17
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                                                                        June 18, 2025

                  VIA ELECTRONIC MAIL

                  Gary E. Mason
                  Mason LLP
                  5335 Wisconsin Avenue NorthWest
                  Suite 640
                  Washington, DC 20016
                  gmason@masonllp.com

                               RE:       In re Valve Antitrust Litigation, No. 2:21-cv-00563-JNW

                  Dear Gary:

                          We write to address Plaintiff Ryan Lally’s Motion for Sanctions filed in the
                  above-referenced case on June 11, 2025. (Dkt. 467.) The motion purports to seek
                  sanctions on the ground that Valve has refused to arbitrate Mr. Lally’s putative
                  antitrust claims before the American Arbitration Association (“AAA”). Mr. Lally’s
                  motion comes as a surprise to Valve as explained below.

                           First, Mr. Lally represented to the Court that he preferred to proceed in Court
                  and not in arbitration. Specifically, Mr. Lally argued in opposition to Valve’s motion
                  to compel arbitration that the arbitration agreement in the then-operative Steam
                  Subscriber Agreement (“SSA”)—the very agreement he now seeks to enforce—was
                  unconscionable and unenforceable. He further asserted that arbitration under the
                  superseded SSA (“Superseded SSA”) “would deny” him “the ability to seek and obtain
                  the statutory relief available to [him].” (See Dkt. 51 at 1-2, 15-16.) He also represented
                  in his Amended Complaint that his class action was “superior to any other method for
                  the fair and efficient adjudication of this legal dispute.” (Dkt. 34 ¶ 314.) And you stated
                  in a submission to the AAA in April 2024 that you intended to challenge the
                  enforceability of the arbitration agreement in the Superseded SSA. (Ex. A at 1-2.)

                          Based on Mr. Lally’s irreconcilable about-face—first strenuously opposing
                  arbitration, and now demanding arbitration and seeking sanctions for refusal to
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 arbitrate—we are concerned that he is being used as a pawn in your improper mass
 arbitration scheme and is making arguments that merely serve the interests of counsel
 in its improper attempt to pursue arbitrations under a superseded agreement. To this
 point, we note that your motion purports to seek relief not only on behalf of Mr. Lally,
 but also tens of thousands of other claimants. Yet Valve moved to compel arbitration—
 and the Court granted that motion, subject to a determination on enforceability of the
 arbitration agreement by the arbitrator—only with respect to the named plaintiffs in
 the above-referenced action. Aside from Mr. Lally, none of the thousands of claimants
 you purport to represent are among the named plaintiffs.1

          Valve is also concerned that counsel is making improper attempts to duplicate
 proceedings given that Mr. Lally (a California resident) is a member of the putative
 class in Welty v. Valve Corporation, No. 1:25-cv-00696-SAB. You seek the same
 relief in Welty as here: sanctions for Valve’s purported refusal to arbitrate.

        In any event, if you had met and conferred with Valve prior to filing the motion
 you would have obviated the need to file it. Valve will agree to arbitrate Mr. Lally’s
 claims before the AAA.

         As you know, Valve did not pay the invoice the AAA issued for Case
 Management Fees on March 24, 2025, in the mass arbitration that includes Mr. Lally’s
 claim along with 14,910 others. As Valve explained, the arbitration agreement in the
 Superseded SSA was deemed unenforceable in four AAA arbitrations that involved
 similar claims. Among other things, the arbitrator held that the arbitration agreement
 was unenforceable as to California residents under California law. Mr. Lally is a
 California resident.2 Based on those rulings, a new class action was filed seeking to
 certify a class that would include Mr. Lally and all of the other claimants that are part
 of your mass arbitration. Valve then removed the arbitration agreement from the SSA.
 The current SSA requires all claims, including accrued and pending claims, to proceed
 in court. Given Mr. Lally’s previous objection to arbitration, we believed Mr. Lally
 would welcome this development. Indeed, after Valve announced the current SSA, all
 six of Mr. Lally’s co-plaintiffs promptly requested that the Court lift the stay entered
 in favor of arbitration of their claims in 2021 and proceed with the putative class




 1
     In addition, the arbitration agreement in the Superseded SSA you seek to invoke expressly
     forecloses any “CLASS OR REPRESENTATIVE ACTION” and precludes Valve and users from
     “seek[ing] to combine any action . . . with any other action” without all parties’ consent.
 2
     You stated in a letter to the AAA dated April 19, 2024, that a decision by an arbitrator on the
     enforceability of the arbitration agreement in the Superseded SSA “will affect each individual
     Claimant’s obligation to arbitrate their disputes with Valve.” (Ex. A at 1-2.)
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 action. (Dkt. 370.) Valve did not oppose that request and the Court granted it. (Dkt.
 395, 428.)

         Based on a review of Valve’s records it appears that Mr. Lally has not agreed
 to the current SSA; no one has logged into the Steam account referenced in Mr. Lally’s
 complaint since June of 2023, well before Valve launched the current SSA. As such,
 and given that the Court compelled Mr. Lally’s individual claim to arbitration, Valve
 is willing to proceed with arbitration before the AAA pursuant to the arbitration
 agreement in the Superseded SSA, updated as of April 25, 2023. Valve has requested
 that the AAA issue an invoice for the Case Management Fee for Mr. Lally’s arbitration
 only. Valve will promptly pay that invoice after it is received.

         Valve reserves all rights with respect to all other arbitrations, including the
 other arbitrations that are part of the mass arbitration with case number 01-23-0005-
 8758, on the grounds that (i) the arbitration agreement in the Superseded SSA has been
 held by a AAA arbitrator to be unenforceable and (ii) there is no longer an agreement
 to arbitrate between Valve and its customers.

        We trust Valve’s agreement to proceed with Mr. Lally’s arbitration moots his
 sanctions motion. Please confirm promptly and by no later than June 20, 2025, that
 you will withdraw it.


                                              Sincerely,

                                              /s/ Michael W. McTigue Jr.

                                              Michael W. McTigue Jr.
 w/encl.
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                                         April 19, 2024
Priscilla Cortez
Manager of ADR Services
American Arbitration Association
International Centre for Dispute Resolution
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PriscillaCortez@adr.org

       Re:     Individual Claimants v. Valve Corporation
               Case No. 01-23-0005-8758
Dear Ms. Cortez:

       We write in follow-up to the parties’ April 12, 2024, administrative conference call, and
the AAA’s request for written contentions regarding the issues each party believes should be
addressed by a Process Arbitrator to be appointed by the AAA. This correspondence sets forth
Individual Claimants’ position with respect to this request.

       Individual Claimants believe the following administrative issues should be addressed by a
Process Arbitrator in advance of any individual adjudications on the merits.

        1.       Reimbursement of AAA Filing Fees. Individual Claimants request that the AAA
appoint a Process Arbitrator to address Valve’s failure to promptly reimburse Individual Claimants
for the fees associated with AAA arbitration. Specifically, the Steam Subscriber Agreement– the
contract upon which Valve relies to compel Individual Claimants to arbitration– states that “Valve
agrees to promptly reimburse [an Individual Claimant’s] filing fee and [his or her] share if an of
AAA’s arbitration costs, including arbitrator compensation” where the Individual Claimant seeks
“$10,000 or less.” (Emphasis added.) To date, Valve has not promptly reimbursed Individual
Claimants whose demands for arbitration seek $10,000 or less. Individual Claimants believe this
is a threshold issue that is uniformly applicable to Individual Claimants and impacts the
enforceability of the arbitration clause in the Steam Subcriber Agreement, and that a Process
Arbitrator should address this issue in the first instance. See Mass Arbitration Supplementary Rule
MA-6(d)(ii) (August 2023) (allowing for the “allocation of payment advances on administrative
fees, arbitrator compensation, and/or expenses” to be determined by a Process Arbitrator).

       2.      Enforceability of Arbitration Agreement. Individual Claimants request that a
Process Arbitrator be appointed to address whether the arbitration clause in the Steam Subscriber
Agreement is enforceable. At least one Individual Claimant intends to raise the issue of
unconscionability and resulting unenforceability of the arbitration clause, and a decision on this
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Manager of ADR Services
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issue will affect each individual Claimant’s obligation to arbitrate their disputes with Valve. Thus,
it is an appropriate administrative issue for a Process Arbitrator to address. See Mass Arbitration
Supplementary Rule MA-6(d)(i), (iii), (v), and (f) (August 2023).

        3.       Scope of Discovery. Individual Claimants request that a Process Arbitrator be
appointed to determine the appropriate scope of discovery in this matter. Individual Claimants
will primarily request access to discovery that Valve has already compiled and produced in related
antitrust litigation that Valve is currently a party to pending in the Federal District Court for the
Western District of Washington, captioned Wolfire Games LLC et al v. Valve Corporation, Case
No. 2:21-cv-00563-JJC. The only additional discovery Claimants will seek as a part of the
arbitration process is information Respondent has about each of them. This additional discovery
will not be burdensome as it is extremely likely that Respondent (a) has already pulled this
information, or (b) will pull it as part of defending the arbitrations.

        With respect to Individual Claimants’ request for the discovery from the Wolfire case, the
Vorys firm is one of the plaintiff-side firms in the Wolfire case and has access to the discovery
pursuant to a protective order entered into in that case. Rule 22 of the AAA’s Consumer Arbitration
Rules states that an “arbitrator may direct . . . specific documents and other information to be
shared between the consumer and business . . . .” The Rule further states that “arbitration must
remain a fast and economical process . . . .” The quickest, most economical process for discovery
needed to fairly adjudicate these arbitrations is to allow Individual Claimants’ attorneys—some of
whom already have access to the requested discovery—to use that discovery in the arbitrations
subject to the same protective order entered into in the Wolfire case. The use of discovery already
compiled and produced by Valve in the Wolfire case will not result in any discovery burden on
Valve in these arbitrations. Moreover, the discovery Individual Claimants seek from the Wolfire
case is uniformly applicable to each Individual Claimant’s case, and thus the issue of the
appropriate scope of discovery is an issue that should be addressed by a Process Arbitrator. These
are antitrust arbitrations, and each of them focuses on Respondent’s conduct. It would be
incongruous for one arbitration to allow limited discovery for one Claimant’s case, when another
arbitration may allow broader discovery. The issue of the scope of discovery with respect to
Individual Claimants’ arbitrations should be decided uniformly by a Process Arbitrator. See Mass
Arbitration Supplementary Rule MA-6(d)(v) (allowing the Process Arbitrator to determine “any
other administrative issue arising out of the nature of the Mass Arbitration”).

       4. The Propriety of Valve’s Contemplated Motion to Dismiss. On the April 12, 2024,
administrative conference call, in addition to the issues that Individual Claimants raised set forth
above, Valve requested that a Process Arbitrator be appointed to address whether Individual
Claimants have complied with the terms of the Steam Subscriber Agreement such that their claims
are properly before the AAA for adjudication. Valve suggested that it would raise this issue with
a Process Arbitrator through a motion to dismiss. Individual Claimants dispute (1) Valve’s
contention that they somehow have not complied with the terms of the Steam Subscriber
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Agreement, (2) Valve’s contention that this dispositive motion is appropriate, either before a
Process Arbitrator or otherwise raised, and (3) Valve’s contention that this particular dispositive
motion is appropriate and raised in good faith given that Valve has already raised and lost this same
issue in two other arbitrations within the past several months. (See attached AAA decisions.)
Pursuant to the doctrine of non-mutual collateral estoppel, Valve should be estopped from once
again raising this frivolous argument with the AAA. Finally, Valve’s contention that it is
appropriate for a Process Arbitrator to decide a motion to dismiss an Individual Claimants’
compliance with the Steam Subscriber Agreement is directly in conflict with Valve’s opposition to
issue No. 2, above.

       We appreciate the AAA’s time in conducting the administrative conference call on April
12, 2024, and in considering the above issues that were raised on that call. If there is any other
information or documentation that would aid the AAA in considering these issues, please let us
know and we would be happy to provide it.

               Sincerely,

               /s/Gary E. Mason                       /s/Kenneth J. Rubin
               Gary E. Mason                          Kenneth J. Rubin



cc:    Victoria Chandler (VictoriaChandler@adr.org)
       Lauren Sheller
       Jeremy Mishkin
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